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                                                1                          (Stipulating Parties Listed on Signature Pages)
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                                                                             UNITED STATES DISTRICT COURT
                                                5                           NORTHERN DISTRICT OF CALIFORNIA
                                                                               (SAN FRANCISCO DIVISION)
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                                                    IN RE: CATHODE RAY TUBE (CRT)                               Case No. 07-5944 SC
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                                                    ANTITRUST LITIGATION                                          MDL No. 1917
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                                                    This Document Relates to:                         STIPULATION AND [PROPOSED]
                                               13                                                     ORDER VOLUNTARILY
                                               14   Sears, Roebuck and Co., et al. v. Chunghwa        DISMISSING SEARS AND
                                                    Picture Tubes, Ltd., et al., No. 11-cv-05514      KMART’S MASSACHUSETTS
                                               15                                                     CONSUMER PROTECTION ACT
                                               16   Sears, Roebuck and Co., et al. v. Technicolor     CLAIM
                                                    SA, et al., No. 13-cv-05262
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                                                                STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING
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                                                1          Pursuant to Civil Local Rules 6-2 and 7-12, the undersigned Defendants and Plaintiffs
                                                2   Sears Roebuck and Co. and Kmart Corp. (collectively, the “Stipulating Plaintiffs”), have
                                                3   conferred by and through their counsel and, subject to the Court’s approval, HEREBY
                                                4   STIPULATE AS FOLLOWS:
                                                5          WHEREAS, there is pending in the United States District Court for the Northern
                                                6   District of California a multidistrict consolidated proceeding comprised of actions brought on
                                                7   behalf of purported purchasers of cathode ray tubes (“CRT”) and CRT products, captioned as
                                                8   In re: Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 3:07-cv-05944 SC (MDL No.
                                                9   1917) (the “MDL Proceedings”);
                                               10          WHEREAS, on October 3, 2013, the Stipulating Plaintiffs filed a Second Amended
                                               11   Complaint for Damages and Injunctive Relief (“Second Amended Complaint”) in which the
                                               12   Stipulating Plaintiffs assert a cause of action under the Massachusetts Consumer Protection
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                                               13   Act (MDL Dkt. No. 1973, ¶ 256);
                                               14          WHEREAS, on November 13, 2013, the Stipulating Plaintiffs filed a separate
                                               15   Complaint for Damages and Injunctive Relief in which the Stipulating Plaintiffs assert a
                                               16   cause of action under the Massachusetts Consumer Protection Act (Case No. 13-05262, Dkt.
                                               17   No. 1, ¶ 265);
                                               18          WHEREAS, on October 3, 2013, Schultze Agency Services, LCC (“Tweeter”) filed a
                                               19   First Amended Complaint (“Tweeter’s First Amended Complaint”) in which it asserts a
                                               20   cause of action under the Massachusetts Consumer Protection Act (MDL Dkt. No. 1980,
                                               21   ¶¶ 236-253);
                                               22          WHEREAS, on November 4, 2013, Defendants Toshiba Corporation, Toshiba
                                               23   America, Inc., Toshiba America Consumer Products, LLC, Toshiba America Information
                                               24   Systems, Inc., and Toshiba America Electronic Components, Inc. moved to dismiss
                                               25   Tweeter’s First Amended Complaint (MDL Dkt. No. 2108) (the “Motion to Dismiss”) in part
                                               26   because the Massachusetts Consumer Protection Act does not confer indirect purchaser
                                               27   standing to entities engaged in trade or commerce;
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                                                1          WHEREAS, on November 4, 2013, Koninklijke Philips N.V., and Philips Electronics
                                                2   North America Corporation joined the Motion to Dismiss (MDL Dkt. No. 2187);
                                                3          WHEREAS, on March 13, 2014, the Court entered an order granting in part and
                                                4   denying in part the Motion to Dismiss (MDL Dkt. No. 2436) (the “Motion to Dismiss
                                                5   Order”);
                                                6          WHEREAS, the Court’s Motion to Dismiss Order dismissed with prejudice
                                                7   Tweeter’s Massachusetts Consumer Protection Act claim against Toshiba Corporation,
                                                8   Toshiba America, Inc., Toshiba America Consumer Products, LLC, Toshiba America
                                                9   Information Systems, Inc., Toshiba America Electronic Components, Inc., Koninklijke
                                               10   Philips N.V., and Philips Electronics North America Corporation;
                                               11          WHEREAS, the undersigned Defendants seek to dismiss the Stipulating Plaintiffs’
                                               12   Massachusetts Consumer Protection Act Claim relying upon the same Massachusetts law
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                                               13   arguments that were presented in the Motion to Dismiss; and
                                               14          WHEREAS, the Stipulating Plaintiffs and the undersigned Defendants seek to resolve
                                               15   the Defendants’ Massachusetts Consumer Protection Act arguments in a manner that
                                               16   conserves the resources of the Court while at the same time preserving any and all appeal
                                               17   rights of both the Stipulating Plaintiffs and the undersigned Defendants;
                                               18          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between
                                               19   counsel for the Stipulating Plaintiffs and counsel for the undersigned Defendants in the
                                               20   above-captioned actions, as follows:
                                               21          1.       The Stipulating Plaintiffs’ Massachusetts Consumer Protection Act claim is
                                               22                   voluntarily dismissed with prejudice;
                                               23          2.       By virtue of this Stipulation, the Stipulating Plaintiffs and the undersigned
                                               24                   Defendants do not waive any of their appeal rights to the state law issues
                                               25                   addressed in this Stipulation.
                                               26          3.       This Stipulation has no bearing on, and is without prejudice to, all other
                                               27                   claims asserted by the Stipulating Plaintiffs.
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                                                            STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING
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                                                            STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING
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                                                            STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING
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                                                    PURSUANT TO STIPULATION, IT IS SO ORDERED.               TES D      TC
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